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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP,

                                            Plaintiff,

 v.                                                         Civil Action No. 1:19-cv-2173-CJN

 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES; LETITIA JAMES, in
 her official capacity as Attorney General of
 New York State; and MICHAEL R.
 SCHMIDT, in his official capacity as
 Commissioner of the New York State
 Department of Taxation and Finance,

                                        Defendants.

                                     JOINT STATUS REPORT
        Per this Court’s order on the New York Defendants’ motion to dismiss, Plaintiff and the

Congressional Defendants have met and conferred on “how they would propose to proceed on the

Emergency Application for Relief Under the All Writs Act, Dkt. 6, which remains pending before the

Court.” Dkt. 45. The parties state their respective positions below.

                                            Plaintiff’s Position
        Plaintiff asks the Court to grant him relief under the All Writs Act. Consistent with his position

in the prior joint status report, Dkt. 22, Plaintiff asks for one of two alternative forms of relief. Either

the Court should order one or more of the Congressional Defendants to notify Plaintiff and the Court

at least 14 days before Chairman Neal makes a TRUST Act request concerning President Trump or

any related entity. Or the Court should order one or more of the New York Defendants to notify

Plaintiff and the Court when the Commissioner receives a TRUST Act request concerning President

Trump or any related entity, and to wait at least 14 days before complying with that request. Plaintiff

believes he is entitled to either form of relief for the reasons set forth in his papers, especially his

recent opposition to the Congressional Defendants’ motion to dismiss. See Dkt. 46 at 11-16; Dkt. 37



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at 24, 42-43; Dkt. 17; Dkt. 6.1 The Court’s order should expire once Chairman Neal makes a TRUST

Act request, once the Congressional Defendants represent that they will not make such a request, or

once the House’s current term expires.

        Plaintiff requests a ruling on his pending emergency application for relief under the All Writs

Act by Monday, November 18, 2019—when the current agreement with the New York Defendants

expires. See Dkt. 29. Plaintiff does not believe another hearing before Monday is necessary. The parties

have already briefed and argued Plaintiff’s emergency application. The arguments in the Congressional

Defendants’ motion to dismiss are not reasons to deny Plaintiff relief under the All Writs Act, and

they should be addressed when or if Chairman Neal makes a TRUST Act request. If the Court believes

a hearing is necessary, counsel will of course make themselves available as the Court directs. Plaintiff’s

counsel is available all day on Monday, if necessary.

                                  Congressional Defendant’s Position
        Given the extraordinary emergency relief being sought by Plaintiff, Congressional Defendants

respectfully request that they be afforded an opportunity to file a written response to Plaintiff’s most

recent filing seeking emergency relief under the All Writs Act. Dkt. 46. Congressional Defendants

propose to file that response by no later than 10:00 a.m. on Friday, November 15, 2019. Congressional

Defendants further request that this Court hold a hearing prior to granting any relief against them. As

the Court is aware, Congressional Defendants have filed a motion to dismiss, Dkt. 42, which raises

certain jurisdictional and other issues not addressed during the parties’ initial briefing and hearing on

the original request for relief under the All Writs Act. Those arguments directly bear on this Court’s

ability to fashion the requested relief as to Congressional Defendants. Counsel is available for a

hearing at the Court’s convenience (including on Saturday and Sunday), except for between 10:00 a.m.


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         Plaintiff notified the New York Defendants that he would be requesting this relief. The New
York Defendants stated that they would not respond until directed by the Court, and that their
substantive position on Plaintiff’s request is set forth in Point III.A of their reply brief, Dkt. 39.


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and Noon on Monday, November 18, 2019, due to a previously scheduled argument before the D.C.

Circuit. Committee on the Judiciary v. U.S. Dep’t of Justice, No. 19-5288 (D.C. Cir.).


 Dated: November 13, 2019                                 Respectfully submitted,

  s/ Douglas N. Letter                                     s/ William S. Consovoy
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